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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                                MDL NO. 2179
       "DEEPWATER HORIZON" in the
        GULF OF MEXICO, on
       APRIL 20, 2010                                          SECTION: J

THIS DOCUMENT RELATES TO:

ALL CASES IN PLEADING BUNDLE                                  JUDGE BARBIER
SECTION IIIB(3)                                               MAG. JUDGE SHUSHAN




                  STATEMENT OF UNDISPUTED MATERIAL FACTS
                                 IN SUPPORT OF
             LANE AVIATION, INC'S MOTION FOR SUMMARY JUDGMENT
              ON DERIVATIVE IMMUNITY AND PREEMPTION GROUNDS


        Pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1, Lane Aviation, Inc. ("Lane

Aviation") respectfully submits the following Statement of Undisputed Material Facts in Support

of its Motion for Summary Judgment on Derivative Immunity and Preemption Grounds to

supplement [Doc 6597] and to supplement and to incorporate fully the Joint Statement of

Undisputed Material Facts filed on behalf of the Clean-Up Responder Defendants which are

specifically adopted and incorporated herein by reference pursuant to Rule 10 of the Federal

Rules of Civil Procedure.

        1.     Lane Aviation is a family-owned and operated small business based in Richmond,

Texas. Lane Aviation was founded in 1945 by WWII veteran Marine Pilot George Lane.

Today, Lane Aviation is the oldest and one of the most successful dealers of the world's leading

agricultural aircraft, the Air Tractor. Today's Air Tractor is a highly sophisticated,

Turbo-Propellor, GPS equipped and remarkably safe aircraft. Grant Lane continues his father's

legacy and was on scene during Lane Aviation's flight operations relevant to this lawsuit. See
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Exhibit "A" - Declaration of Grant Lane in Support of Lane Aviation, Inc's Motion for

Summary Judgment on Derivative Immunity and Preemption Grounds (hereinafter "Grant Lane

Decl.") at ¶ 3.

        2.        On May 6, 2010, Lane Aviation entered into an "Agreement for Provision of

Response Resources" ("Agreement") with National Response Corporation ("NRC"). See

Exhibit "A" - Grant Lane Decl. at ¶ 4.

        3.        A true and correct copy of "Agreement for Provision of Response Resources"

between Lane Aviation and NRC is attached as Exhibit "1" to the Declaration of Grant Lane.

See Exhibit "A" - Grant Lane Decl. at ¶ 4.

        4.        NRC at all times relevant to this lawsuit was classified as an Oil Spill Removal

Organization pursuant to the United States Coast Guard's Oil Spill Removal Organization

program. See Exhibit "A" - Grant Lane Decl. at ¶ 5.

        5.        In its capacity as an emergency Oil Spill Removal Organization, NRC "provides

personnel, equipment, supplies and other resources for responding to discharges of oil and

hazardous substances from vessels and/or facilities and other emergency response situations,

which resources NRC owns or procures by subcontract." See Exhibit "A" - Grant Lane Decl. at

¶ 5, and Exhibit "1" attached thereto — Agreement at p.2 ¶ 2(A).

       6.         The Agreement describes work to be performed under the National Contingency

Plan ("NCP") at the direction of the federal government. See Exhibit "A" - Grant Lane Decl. at

¶ 5, and Exhibit "1" attached thereto — Agreement at rr[ 2.1, 3.5, and 4.1.

       7.         Pursuant to the Agreement, Lane Aviation agreed to maintain its aerial resources

and make them available to NRC for deployment if called upon and authorized to respond to a

discharge. See Exhibit "A" - Grant Lane Decl. at ¶ 6, and Exhibit "1" attached thereto —



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Agreement at IN 1(D), 3.1, and 4.1.

        8.     Around May 5, 2010, NRC and O'Brien's Response Management Inc.

("O'Brien's") contacted Lane Aviation to provide notice of the incident, advise of the potential for

discharge, and to place Lane Aviation aerial resources on stand-by to assist in responding to the

situation. See Exhibit "A" - Grant Lane Decl. at ¶ 7.

        9.     On May 18, 2010, the Federal On-Scene Coordinator ("FOSC"), the federal

official designated to direct the DEEPWATER HORIZON oil spill response, authorized and

instructed Lane Aviation to conduct a 204 gallon aerial application flight to apply EPA-approved

dispersants to oil on the surface of federal waters in the Gulf of Mexico.   See Exhibit "A" - Grant

Lane Decl. at ¶ 8.

        10.    In accordance with such authorization and instruction, Pilot Aldo Leonardi, in

aircraft N9002K, conducted Lane Aviation's first aerial dispersant flight from the Houma-

Terrebonne Airport in Houma, Louisiana ("KHUM") for the DEEP WATER HORIZON oil spill

response. Said flight was accompanied by a spotter aircraft with United States Coast Guard and

O'Brien's personnel on board. See Exhibit "A" - Grant Lane Decl. at ¶ 8.

       11.     Lane Aviation subsequently made 21 additional aerial application flights as

authorized and directed. The last such flight made by Lane Aviation was on July 2, 2010.     See

Exhibit "A" - Grant Lane Decl. at ¶ 9.

       12.     On May 28, 2010, Lane Aviation was authorized and instructed to make its first

reconnaissance - observation flight over the Gulf of Mexico to assist in gathering information

and intelligence on the oil spill. This and subsequent ("spotter") flights were authorized and

instructed to be made by Lane Aviation to assist the decision making within DEEPWATER

HORIZON Incident Command System ("ICS"). United States Coast Guard and other authorized



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personnel from various other public and private entities accompanied Lane Aviation aircraft to

participate in and observe every spotter flight conducted by Lane Aviation.     See Exhibit "A" -

Grant Lane Decl. at ¶ 10.

       13.     Lane Aviation subsequently made 82 additional spotter flights as authorized and

directed. The last such spotter flight made by Lane Aviation was on July 17, 2012. See Exhibit

"A" - Grant Lane Decl. at ¶ 11.

       14.     During the DEEPWATER HORIZON response efforts, Lane Aviation was subject

to the ultimate direction and authority of the federal government, and all of Lane Aviation's

response activities and flights were conducted and executed pursuant to the direction and

authority of the federal government. See Exhibit "A" - Grant Lane Decl. at ¶ 12.

       15.     During the DEEPWATER HORIZON response efforts, the federal government

called upon Lane Aviation to mobilize and deploy its equipment and personnel to assist with and

execute specific aspects of the federal response plan requiring and warranting the use of such

aerial resources, all as determined and directed by the FOSC and the FOSC's representatives

("FOSCRs") within Unified Area Command ("UAC") and or other elements of the ICS.            See

Exhibit "A" - Grant Lane Decl. at ¶ 13.

       16.     Lane Aviation's equipment and personnel were utilized and dispatched from

operations conducted out of only one (1) of the five (5) incident command posts ("ICPs")

established by the United States Coast Guard during the response. Lane Aviation's resources

were consolidated under the leadership of the Houma Incident Command Post ("ICP Houma"),

and all of Lane Aviation's DEEPWATER HORIZON response activities, spotter and aerial

dispersant application flights, were conducted out of KHUM Airport as directed and authorized

by the federal government.        See Exhibit "A" - Grant Lane Decl. at ¶ 14.



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        17.    All DEEPWATER HORIZON oil spill response aerial operations were managed

by the Dispersant Group in the Operations Section of ICP Houma. The Dispersant Group at ICP

Houma ran flight operations out of two airports, NASA's John C. Stennis Space Center in

Mississippi ("KHSA") and the Houma-Terrebonne Airport in Houma, Louisiana ("KHUM").

Each airport had an assigned liaison to the Dispersant Group at ICP Houma so that ICP could

communicate directives, share information, coordinate response activities and remain informed

of all details concerning operations at both airports.   See Exhibit "A" - Grant Lane Decl. at ¶ 15.

        18.    Lane Aviation was one of several aerial application operators working under the

direction of ICP Houma Dispersant Group and stationed at the KHUM during the DEEPWATER

HORIZON clean-up efforts. However, Lane Aviation did not participate in any operations,

including aerial spotter and/or aerial dispersant flights, conducted out of KHSA.     See Exhibit

"A" - Grant Lane Decl. at ¶ 16.

        19.    Lane Aviation's DEEPWATER HORIZON clean-up response activities

were limited to assigned aerial operations authorized, ordered, directed and ultimately controlled

by the federal government, including (i) spotter/reconnaissance/observation flights; (ii)

aerial application of EPA-approved dispersants to oil on the surface of federal waters of the Gulf

of Mexico; and (iii) spotter flights supporting spray aircraft during aerial application of EPA

approved dispersants to oil on the surface of federal waters of the Gulf of Mexico.     See Exhibit

"A" - Grant Lane Decl. at ¶ 17.

       20.     For each and every aerial dispersant flight conducted during the DEEPWATER

HORIZON clean-up response, federal government approval was necessary and such authorization

came exclusively from the FOSC. The federal government also provided specific instructions

with regard to when, where, and how to apply dispersants, including in what quantities and under



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what conditions. For each and every aerial dispersant flight conducted during the DEEPWATER

HORIZON clean-up response, federal government officials and agencies, including the FOSC,

the FOSCRs, those within the Dispersant Group, ICP Houma, UAC, and others such as the

United States Coast Guard/NOAA/EPA SMART teams, monitored the operation in order to

ensure that the government's response plans were being executed and conducted in a safe and

effective manner. See Exhibit "A" - Grant Lane Decl. at ¶ 18.

        21.    At all times, Lane Aviation, its pilots and all other employees participating in the

DEEPWATER HORIZON response efforts followed approved directives, instructions and action

plans issued from the FOSC and/or the FOSCRs at UAC or ICP Houma and set forth in Incident

Action Plans which detailed the authorized response activities to be executed each day. See

Exhibit "A" - Grant Lane Decl. at ¶ 19.

        22.    Lane Aviation and its employees participating in the DEEPWATER HORIZON

response efforts took no action independent of the federal government, outside of its

assigned role in the federal ICS and/or beyond the scope of federal authorization.      See Exhibit

"A" - Grant Lane Decl. at ¶ 20.

        23.    At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any sub-sea dispersant operations. See Exhibit "A" - Grant Lane Decl. at

¶ 21.

        24.    At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any surface application of dispersants from vessels.    See Exhibit "A" -

Grant Lane Decl. at ¶ 22.

        25.    At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with shoreline clean-up operations. See Exhibit "A" - Grant Lane Decl. at ¶



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23.

        26.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any in situ burning operations.         See Exhibit "A" - Grant Lane Decl. at

1124.

        27.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any aerial dispersant operations which may have been conducted in

the territorial waters of any State and/or in federal waters less than at least three (3) nautical

miles off the shoreline of any State.   See Exhibit "A" - Grant Lane Decl. at 1125.

        28.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any aerial dispersant operations which may have been conducted in

federal waters off the coast of Texas, Mississippi, Alabama or Florida.       See Exhibit "A" - Grant

Lane Decl. at ¶ 26.

        29.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with the engagement, training and/or supervision of any "VoO Plaintiffs,"

"Decontamination Plaintiffs" and/or "Onshore Plaintiffs" defined in Plaintiffs' First Amended

Master Complaint in Accordance with PTO No. 11 Section III.B(3) (Rec. Doc. 1812) (the "B3

Bundle Master Complaint"), and did not participate in any determinations made by the UAC

with respect to the use of respirators and/or other personal protective equipment by these or any

other classification of plaintiffs. See Exhibit "A" - Grant Lane Decl. at ¶ 27.

        30.    At all times during the DEEPWATER HORIZON response efforts,

determinations regarding the use of dispersants were made by the FOSC, and Lane Aviation

complied with all such determinations.      See Exhibit "A" - Grant Lane Decl. at ¶ 28.

        31.    At all times during the DEEPWATER HORIZON response efforts,



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determinations regarding the type of dispersants to be applied were made by the FOSC, the

FOSCRs, and/or other federal officials, and Lane Aviation complied with all such

determinations. See Exhibit "A" - Grant Lane Decl. at ¶ 29.

        32.    At all times, Lane Aviation, its pilots and its other employees participating in the

DEEPWATER HORIZON response efforts were subject to and worked at the direction of and

under the authority of the FOSC, the FOSCRs, and/or other federal officials.     See Exhibit "A" -

Grant Lane Decl. at ¶ 30.

       33.     At all times during the DEEPWATER HORIZON response efforts, Lane

Aviation, its pilots and its other employees acted at the direction of the United States pursuant

to authority validly conferred by federal officials within ICS faithfully obeyed directives given

and within the scope of such authority to execute the will of the federal government.    See Exhibit

"A" - Grant Lane Decl. at ¶ 31.


                                                      RESPECTFULLY SUBMITTED

                                                      LAW OFFICE OF GEORGE E. CROW


                                                      /s/ George E. Crow
                                                      George E. Crow
                                                      TSBN 05151900
                                                      P.O. Box 30
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                                                      ATTORNEY FOR DEFENDANT LANE
                                                      AVIATION, INC.


                                  CERTIFICATE OF SERVICE


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       I hereby certify that the above and foregoing Statement of Undisputed Material Facts in

Support of Lane Aviation, Inc.'s Motion for Summary Judgment on Derivative Immunity and

Preemption Grounds has been served on All Counsel by electronically uploading the same to

Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was

electronically filed with the Clerk of Court of the United States District Court for the Eastern

District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing

in accordance with the procedures established in MDL 2179, on this July 5, 2012.




                                              /s/ George E. Crow




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG              MDL NO. 2179
       "DEEPWATER HORIZON" in the
       GULF OF MEXICO, on
       APRIL 20, 2010                        SECTION: J

THIS DOCUMENT RELATES TO:

ALL CASES IN PLEADING BUNDLE                JUDGE BARBIER
SECTION IIIB(3)                             MAG. JUDGE SHUSHAN




                      Exhibit "A"

            DECLARATION OF GRANT LANE IN SUPPORT OF
        LANE AVIATION, INC.'S MOTION FOR SUMMARY JUDGMENT
         ON DERIVATIVE IMMUNITY AND PREEMPTION GROUNDS
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                                MDL NO. 2179
       "DEEPWATER HORIZON" in the
        GULF OF MEXICO, on
       APRIL 20, 2010                                          SECTION: J

THIS DOCUMENT RELATES TO:

ALL CASES IN PLEADING BUNDLE                                  JUDGE BARBIER
SECTION IIIB(3)                                               MAG. JUDGE SHUSHAN




                     DECLARATION OF GRANT LANE IN SUPPORT OF
                LANE AVIATION, INC.'S MOTION FOR SUMMARY JUDGMENT
                 ON DERIVATIVE IMMUNITY AND PREEMPTION GROUNDS



           1.     My name is Grant Lane. I am the President of Lane Aviation, Inc. ("Lane

Aviation"). I have served as President of Lane Aviation since before the April 20, 2010

explosion and fire on the DEEPWATER HORIZON mobile offshore drilling unit and throughout

the ensuing oil spill response and clean-up efforts. I continue to serve in that capacity as of July

3, 2012.

        2.        I submit this Declaration in support of Lane Aviation's Motion for Summary

Judgment on Derivative Immunity and Preemption Grounds. The facts set forth herein are based

on my personal knowledge and/or the books and records of Lane Aviation.

       3.         Lane Aviation is a family-owned and operated small business based in Richmond,

Texas. Lane Aviation was founded in 1945 by WWII veteran Marine Pilot George Lane.

Today, Lane Aviation is the oldest and one of the most successful dealers of the world's leading

agricultural aircraft, the Air Tractor. Today's Air Tractor is a highly sophisticated,

Turbo-Propellor, GPS equipped and remarkably safe aircraft. I was on the scene during Lane
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Aviation's flight operations relevant to this lawsuit.

        4.      On May 6, 2010, Lane Aviation entered into an Agreement for Provision of

Response Resources" ("Agreement") with National Response Corporation ("NRC"). A true and

correct copy of which is attached hereto as Exhibit "1."   See Exhibit 1.

        5.     NRC at all times relevant to this lawsuit was classified as an Oil Spill Removal

Organization pursuant to the United States Coast Guard's Oil Spill Removal Organization

program. In its capacity as an emergency Oil Spill Removal Organization, NRC "provides

personnel, equipment, supplies and other resources for responding to discharges of oil and

hazardous substances from vessels and/or facilities and other emergency response situations,

which resources NRC owns or procures by subcontract." The Agreement describes work to be

performed under the National Contingency Plan ("NCP") at the direction of the federal

government.

        6.     Pursuant to the Agreement, Lane Aviation agreed to maintain its aerial resources

and make them available to NRC for deployment if called upon and authorized to respond to a

discharge.

        7.     Around May 5, 2010, NRC and O'Brien's Response Management Inc.

("O'Brien's") contacted Lane Aviation to provide notice of the incident, advise of the potential for

discharge, and to place Lane Aviation aerial resources on stand-by to assist in responding to the

situation.

        8.     On May 18, 2010, the Federal On-Scene Coordinator ("FOSC"), the federal

official designated to direct the DEEPWATER HORIZON oil spill response, authorized and

instructed Lane Aviation to conduct a 204 gallon aerial application flight to apply EPA-approved

dispersants to oil on the surface of federal waters in the Gulf of Mexico. In accordance with



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such authorization and instruction, Pilot Aldo Leonardi, in aircraft N9002K, conducted Lane

Aviation's first aerial dispersant flight from the Houma-Terrebonne Airport in Houma, Louisiana

("KHUM") for the DEEP WATER HORIZON oil spill response. Said flight was accompanied

by a spotter aircraft with United States Coast Guard and O'Brien's personnel on board.

        9.     Lane Aviation subsequently made 21 additional aerial application flights as

authorized and directed. The last such flight made by Lane Aviation was on July 2, 2010.

        10.    On May 28, 2010, Lane Aviation was authorized and instructed to make its first

reconnaissance - observation flight over the Gulf of Mexico to assist in gathering information

and intelligence on the oil spill. This and subsequent ("spotter") flights were authorized and

instructed to be made by Lane Aviation to assist the decision making within DEEPWATER

HORIZON Incident Command System ("ICS"). United States Coast Guard and other authorized

personnel from various other public and private entities accompanied Lane Aviation aircraft to

participate in and observe every spotter flight conducted by Lane Aviation.

        11.    Lane Aviation subsequently made 82 additional spotter flights as authorized and

directed. The last such spotter flight made by Lane Aviation was on July 17, 2012.

        12.    During the DEEPWATER HORIZON response efforts, Lane Aviation was subject

to the ultimate direction and authority of the federal government, and all of Lane Aviation's

response activities and flights were conducted and executed pursuant to the direction and

authority of the federal government.

       13.     During the DEEPWATER HORIZON response efforts, the federal government

called upon Lane Aviation to mobilize and deploy its equipment and personnel to assist with and

execute specific aspects of the federal response plan requiring and warranting the use of such

aerial resources, all as determined and directed by the FOSC and the FOSC's representatives



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("FOSCRs") within Unified Area Command ("UAC") and or other elements of the ICS.

        14.     Lane Aviation's equipment and personnel were utilized and dispatched from

operations conducted out of only one (1) of the five (5) incident command posts ("ICPs")

established by the United States Coast Guard during the response. Lane Aviation's resources

were consolidated under the leadership of the Houma Incident Command Post ("ICP Houma"),

and all of Lane Aviation's DEEPWATER HORIZON response activities, spotter and aerial

dispersant application flights, were conducted out of KHUM Airport as directed and authorized

by the federal government.

        15.     All DEEPWATER HORIZON oil spill response aerial operations were managed by

the Dispersant Group in the Operations Section of ICP Houma. The Dispersant Group at ICP

Houma ran flight operations out of two airports, NASA's John C. Stennis Space Center in

Mississippi ("KHSA") and the Houma-Terrebonne Airport in Houma, Louisiana ("KHUM").

Each airport had an assigned liaison to the Dispersant Group at ICP Houma so that ICP could

communicate directives, share information, coordinate response activities and remain informed

of all details concerning operations at both airports.

        16.    Lane Aviation was one of several aerial application operators working under the

direction of ICP Houma Dispersant Group and stationed at the KHUM during the DEEPWATER

HORIZON clean-up efforts. However, Lane Aviation did not participate in any operations,

including aerial spotter and/or aerial dispersant flights, conducted out of KHSA.

        17.    Lane Aviation's DEEPWATER HORIZON clean-up response activities

were limited to assigned aerial operations authorized, ordered, directed and ultimately controlled

by the federal government, including (i) spotter/reconnaissance/observation flights; (ii)

aerial application of EPA-approved dispersants to oil on the surface of federal waters of the Gulf



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of Mexico; and (iii) spotter flights supporting spray aircraft during aerial application of EPA

approved dispersants to oil on the surface of federal waters of the Gulf of Mexico.

        18.    For each and every aerial dispersant flight conducted during the DEEPWATER

HORIZON clean-up response, federal government approval was necessary and such authorization

came exclusively from the FOSC. The federal government also provided specific instructions

with regard to when, where, and how to apply dispersants, including in what quantities and under

what conditions. For each and every aerial dispersant flight conducted during the DEEPWATER

HORIZON clean-up response, federal government officials and agencies, including the FOSC,

the FOSCRs, those within the Dispersant Group, ICP Houma, UAC, and others such as the

United States Coast Guard/NOAA/EPA SMART teams, monitored the operation in order to

ensure that the government's response plans were being executed and conducted in a safe and

effective manner.

        19.    At all times, Lane Aviation, it pilots and all other employees participating in the

DEEPWATER HORIZON response efforts followed approved directives, instructions and action

plans issued from the FOSC and/or the FOSCRs at UAC or ICP Houma and set forth in Incident

Action Plans which detailed the authorized response activities to be executed each day.

       20.     Lane Aviation and its employees participating in the DEEPWATER HORIZON

response efforts took no action independent of the federal government, outside of its

assigned role in the federal ICS and/or beyond the scope of federal authorization.

       21.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any sub-sea dispersant operations.

       22.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any surface application of dispersants from vessels.



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        23.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with shoreline clean-up operations.

        24.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any in situ burning operations.

        25.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any aerial dispersant operations which may have been conducted in

the territorial waters of any State and/or in federal waters less than at least three (3) nautical

miles off the shoreline of any State.

        26.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with any aerial dispersant operations which may have been conducted in

federal waters off the coast of Texas, Mississippi, Alabama or Florida.

        27.     At no time during the DEEPWATER HORIZON response efforts was Lane

Aviation involved with the engagement, training and/or supervision of any "VoO Plaintiffs,"

"Decontamination Plaintiffs" and/or "Onshore Plaintiffs" defined in Plaintiffs' First Amended

Master Complaint in Accordance with PTO No. 11 Section III.B(3) (Rec. Doc. 1812) (the "B3

Bundle Master Complaint"), and did not participate in any determinations made by the UAC

with respect to the use of respirators and/or other personal protective equipment by these or any

other classification of plaintiffs.

        28.     At all times during the DEEPWATER HORIZON response efforts, determinations

regarding the use of dispersants were made by the FOSC, and Lane Aviation complied with all

such determinations.

        29.     At all times during the DEEPWATER HORIZON response efforts, determinations

regarding the type of dispersants to be applied were made by the FOSC, the FOSCRs, and/or



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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG              MDL NO. 2179
       "DEEPWATER HORIZON" in the
        GULF OF MEXICO, on
       APRIL 20, 2010                        SECTION: J

THIS DOCUMENT RELATES TO:

ALL CASES IN PLEADING BUNDLE                JUDGE BARBIER
SECTION IIIB(3)                             MAG. JUDGE SHUSHAN




             DECLARATION OF GRANT LANE IN SUPPORT OF
        LANE AVIATION, INC.'S MOTION FOR SUMMARY JUDGMENT
         ON DERIVATIVE IMMUNITY AND PREEMPTION GROUNDS




                      Exhibit "1"

      Agreement for Provision of Response
                  Resources
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